                                                                 SO ORDERED.


                                                                  Dated: September 10, 2019


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3                                                                Daniel P. Collins, Bankruptcy Judge
                                                                 _________________________________
4

5                        IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF ARIZONA
6

7          In re:                                     )   Chapter 7
                                                      )
8
           DEROUIN, ANNE CATHERINE                    )   Case No. 2:15-07625-PHX DPC
9                                                     )
                                                      )   ORDER FOR PAYMENT
10
                                                      )   OF UNCLAIMED FUNDS
11                  Debtor(s).                        )   TO THE U.S. BANKRUPTCY
                                                      )   COURT
12                                                    )
13

14                  Upon application of the Trustee and good cause appearing,
15
                    IT IS ORDERED that the Trustee pay over the amount of $7402.53 to the
16

17
           Clerk of the Court pursuant to Bankruptcy Rule 3010, and §347 of the Code.

18
                                    SIGNED AND DATED ABOVE
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